  Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 1 of 8. PageID #: 103




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION



UNITED STATES OF AMERICA,                           )         Case No. 1:05CR333
                                                    )
               Plaintiff,                           )
                                                    )         Judge Ann Aldrich
       vs.                                          )
                                                    )
RAYSHAWN J. STEVENS, et al.,                        )
                                                    )
               Defendants.                          )         MEMORANDUM AND ORDER


       This is a criminal case in which the United States government accuses Rayshawn J. Stevens

(“Stevens”) of being a felon in possession of a firearm, and Michael A. Medley (“Medley”) of

possessing both cocaine and crack cocaine with intent to distribute them. Now before the court are a pair

of motions to suppress, one filed by each defendant (Docket Nos. 11 & 13). Medley alleges that police

obtained evidence from him after the termination of a lawful stop and search. Stevens alleges that police

illegally stopped and searched his vehicle and obtained evidence, including a confession, from him

without first reciting his Miranda warnings.

       A hearing was held before the court on September 1, 2005, and the parties were asked to submit

post-hearing briefs on the merits of the motions to suppress. The government filed such a brief on

October 28, 2005 (Docket No. 21); defense counsel has not complied with the court’s request. For the

following reasons, the court denies both motions.

                                            I. Background

       On June 22, 2005, Officers Gary Bartell and Jon Periandri of the Cleveland Police Department

observed a moving vehicle “whose music was playing loud enough to be heard and the vibrations
  Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 2 of 8. PageID #: 104




therefrom to be felt more than 35 yards away.” Medley’s Motion, at 2. The officers observed the vehicle

near the intersection of Superior Avenue and East 112th Street, and followed it as it turned off of

Superior and on to East 115th. When the vehicle failed to signal its intention to turn, the officers

performed a traffic stop.

       After approaching the vehicle, which contained Stevens and Medley, the officers allege that they

detected the odor of marijuana. Officer Periandri also noted that Medley “appeared nervous, fidgety,

and was sweating profusely,” Medley’s Mot., id., and that he continually reached for the handle on his

passenger door. Bartell, meanwhile, noted that Stevens reached toward his coin pocket, and that he

presented a suspended license when asked for identification. When Periandri likewise requested

identification from Medley, the latter produced an Ohio Offender identification card.

       Stevens was then arrested for driving under suspension. Bartell’s patdown of Stevens revealed

a small quantity of marijuana. This discovery caused Periandri to request that Medley also exit the

vehicle, after which it is alleged that Medley attempted to flee. Whether or not he did so attempt, the

officers apprehended Medley, and recovered two plastic bags that fell from his waistband. One bag was

determined to contain cocaine powder; the other, crack cocaine.

       Police proceeded to search the vehicle, and recovered a Sturm Ruger 9-millimeter handgun,

loaded with five rounds of ammunition, from the back seat. Cleveland authorities contacted the Drug

Enforcement Administration (“DEA”) Task Force, and alerted them to the arrests of Stevens and

Medley. DEA Agent Jamaal Ansari and an agent from CPD’s Narcotics Unit met Stevens and Medley

at Central Booking.

       The government alleges that Medley subsequently signed a written waiver of his Miranda rights,

and delivered an oral and written account of his involvement with Stevens in a drug transaction. The


                                                 -2-
  Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 3 of 8. PageID #: 105




government also alleges that Stevens waived his rights orally before confessing to his possession of the

gun. Defense counsel arrived at the station as “Stevens was about to sign his Warning and Waiver

form,” Gov’t’s Opp. at 9, and advised him not to do so. Stevens provided no written statement to the

police.

                                                II. Discussion

A. Medley’s Motion

          Medley concedes that the officers had probable cause, both to stop the vehicle and to detain its

occupants. The above quotations regarding the loud music and Medley’s suspicious conduct are typical

of the concessions offered in Medley’s summary of the facts. In seeking suppression of the “contraband

found after Mr. Medley was handcuffed and led to the police vehicle,” Medley’s Mot. at 6, he argues

only that his arrest and search were conducted after “any legitimate purpose for the stop had concluded.”

Id.

          The Sixth Circuit recently summarized and reaffirmed its key rulings in this area:

          Temporary detention of individuals during the stop of an automobile by the police, even
          if only for a brief period and for a limited purpose, constitutes a “seizure” of “persons”
          within the meaning of the Fourth Amendment. Because such a seizure affects the Fourth
          Amendment interests of all the occupants, [both] the driver and [the] passenger may each
          challenge his detention during the stop[.] The dual inquiry for evaluating the
          reasonableness of an investigative stop requires examination of whether the officer's
          action was justified at its inception, and whether it was reasonably related in scope to the
          circumstances which justified the interference in the first place.

United States v. Perez, 2006 FED App. 0093P, 2006 U.S. App. LEXIS 6094, at *14-*15 (6th Cir.

2006)(citing Whren v. United States, 517 U.S. 806, 809-10 (1996); United States v. Richardson, 385

F.3d 625, 629 (6th Cir. 2004); Terry v. Ohio, 392 U.S. 1, 20 (1968)).




                                                     -3-
  Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 4 of 8. PageID #: 106




        Again, Medley concedes the first prong of this inquiry (justification “at the inception”). The

court must therefore confine its analysis to the conduct of the officers following initiation of the traffic

stop.

        An ordinary traffic stop ... is more akin to an investigative detention rather than a
        custodial arrest, and the principles announced in Terry apply to define the scope of
        reasonable police conduct. Reasonable police conduct under such circumstances is such
        that any subsequent detention after the initial stop must not be excessively intrusive in
        that the officer's actions must be reasonably related in scope to circumstances justifying
        the initial interference. Once the purpose of the traffic stop is completed, a motorist
        cannot be further detained unless something that occurred during the stop caused
        the officer to have a reasonable and articulable suspicion that criminal activity was
        afoot.

        [A]n officer may detain an individual after a routine traffic stop is completed if the
        officer has a reasonable suspicion that the individual is engaged in criminal activity.[It
        remains] well-settled law that the legality of the traffic stop is not dependent upon an
        officer's motivations. That is to say, an officer may stop a vehicle for a traffic violation
        when his true motivation is to search for contraband, as long as the officer had probable
        cause to initially stop the vehicle.

United States v. Hill, 195 F.3d 258, 263-64 (6th Cir. 1999), cert. denied, 528 U.S. 1176 (2000)

(emphasis added)(citing Terry, 392 U.S. at 20; United States v. Palomino, 100 F.3d 446, 449 (6th Cir.

1996); United States v. Erwin, 155 F.3d 818, 822 (6th Cir. 1998) (en banc), cert. denied, 525 U.S. 1123

(1999); United States v. Mesa, 62 F.3d 159, 162 (6th Cir. 1995); Whren, 517 U.S. at 812-13; United

States v. Ferguson, 8 F.3d 385, 391 (6th Cir. 1993) (en banc), cert. denied, 513 U.S. 828 (1994)).

        Applying this framework to the facts at bar, the court finds that Medley cannot prevail on his

sole argument. Even if, as Medley claims, the purpose of the traffic stop was accomplished once the

police had “spoken to Mr. Stevens about the loud music and the turn signal, and discovered that Stevens

had a valid operator’s license which had been suspended,” Medley’s Mot. at 5, Medley’s conduct during

the duration of the stop clearly gave rise to a “reasonable and articulable suspicion that criminal activity

was afoot.” Erwin, 155 F.3d 818 at 822.

                                                   -4-
  Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 5 of 8. PageID #: 107




       At the September 1 hearing, Officers Bartell and Periandri testified persuasively regarding

Medley’s post-stop conduct, including his attempts to flee. Bartell testified that “the passenger [Medley]

was breathing heavily,” Suppression Hearing Transcript, at 10, and “sweating as if he was running a

marathon.” Id. at 41. Periandri confirmed that Medley “seemed extremely nervous. He was sweating,

[his] chest was heaving up and down rapidly, [and he] kept looking out the window past me. ... He kept

making gestures to the door as if to open it.” Id. at 55. After Medley was asked to step out of the vehicle,

Bartell testified that the defendant “refused to keep his hands on the car” and “attempted to jerk away.”

Id at 10. After the bag of powder cocaine fell from Medley’s waistband, he “pushed [Bartell] back, [and]

attempted to run ... a struggle ensued.” Id. Periandri’s testimony comfirmed both the initial attempt to

flee, see id. at 57, and the ensuing struggle. “I ran over to help my partner; looked as if the defendant

was trying to step on the bag and run at the same time, and they started falling over on the ground, and

we all got in a tug of war match.” Id. at 58.

       Even in the absence of an attempt to flee (Medley claims that he did not run, but was “sucker-

punched,” id. at 206), the government could establish reasonable and articulable suspicion simply by

reference to the smell of marijuana and the initial behavior of both passengers. See United States v.

Burton, 334 F.3d 514, 517 (6th Cir. 2003). Because Medley concedes the initial legality of the stop, and

because his subsequent arguments (and the hearing testimony) do not conclusively establish that the

officers’ post-stop behavior violated his constitutional rights, Medley’s motion must be denied.

B. Stevens’s Motion

       Stevens argues: (1) that the officers lacked justification for the stop and the detention; (2) that

the officers exceeded the scope of their authority in patting him down; and (3) that the police violated




                                                   -5-
   Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 6 of 8. PageID #: 108




his rights by obtaining statements from him without first reciting his Miranda rights and/or allowing

access to his attorney.

          Stevens’s first two arguments, naturally, are undercut by his co-defendant’s concessions

regarding the circumstances of the stop and subsequent search (concessions which are all the more

peculiar, considering that Medley is charged with the two drug-related counts, while Stevens is merely

charged with possession of the firearm). As noted, both officers testified extensively regarding the loud

music, the failure to signal, and the smell of marijuana which resulted in the detention and questioning

of both defendants. Under Hill, the government has therefore established the existence of probable cause

for the stop and the detention of Stevens.

          Likewise, Stevens cannot succeed on his contention that the patdown search of his person

exceeded the scope permissible under Terry. None of the state law decisions cited by Stevens

contravenes the host of federal-court precedents upholding patdowns as a reasonable means of

protecting officer safety following an arrest. See, e.g., United States v. Montgomery, 377 F.3d 582, 586

(6th Cir. 2004), cert. denied, 2005 U.S. LEXIS 1765 (Feb. 22, 2005), citing Terry, 392 U.S. at 27;

United States v. Jacob, 377 F.3d 573, 579 (6th Cir. 2004)(citing United States v. Heath, 259 F.3d 522,

530 (6th Cir. 2001)(“officers who stop a person reasonably suspected of carrying drugs are entitled to

rely on their experience and training in concluding that weapons are frequently used in drug transactions

and to take reasonable measures to protect themselves”)). Indeed, the conduct of the CPD officers in this

case appears to mirror almost precisely the conduct originally authorized by the Supreme Court in Terry

itself.

          Stevens poses a slightly more tenable argument with his efforts to suppress testimony elicited

from him while in police custody. Unlike Medley, Stevens apparently did not sign a waiver of rights


                                                   -6-
  Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 7 of 8. PageID #: 109




form. Stevens admits that Officer Periandri recited the Miranda warnings at the scene of his arrest, Hrg.

Tr. at 172-73, but disputes the government’s contention that he later waived his rights and provided an

unsolicited confession to Agent Ansari. The parties agree that Stevens refused to cooperate, or to sign

any waiver, once an attorney arrived in the interview room. Said attorney was clearly contacted by

someone on Stevens’s behalf, as Stevens neither makes reference to his counsel, nor claims that he

requested to speak to anyone before making a statement to Ansari. In fact, Stevens does not dispute the

government’s claim that he was “asked if he had an attorney. He said no, he didn’t.” Id. at 111.

       This last detail is fatal to Stevens’s argument. As the Supreme Court first held in Edwards v.

Arizona, 451 U.S. 477 (1981),

       when an accused has invoked his right to have counsel present during custodial
       interrogation, a valid waiver of that right cannot be established by showing only that he
       responded to further police-initiated custodial interrogation even if he has been advised
       of his rights. ... [A]n accused ... having expressed his desire to deal with the police only
       through counsel, is not subject to further interrogation by the authorities until counsel
       has been made available to him, unless the accused himself initiates further
       communication, exchanges, or conversations with the police.

Id. at 484-85; see also Abela v. Martin, 380 F.3d 915 (6th Cir. 2004). Sixth Circuit cases construing and

elaborating on this seminal holding are very clear. Requests for assistance “must be unambiguous to

trigger [Edwards’s] protection. Moreover, the request cannot be for just any sort of assistance, but for

the particular sort of lawyerly assistance that is the subject of Miranda.” United States v. Suarez, 263

F.3d 468, 482-483 (6th Cir. 2001)(quoting McNeil v. Wisconsin, 501 U.S. 171, 179 (1991))(other

citations omitted).Even viewing the facts in a light most favorable to Stevens, it cannot reasonably be

said that the defendant made an unambiguous request for the particular sort of lawyerly assistance that




                                                  -7-
  Case: 1:05-cr-00333-DAP Doc #: 22 Filed: 03/20/06 8 of 8. PageID #: 110




is the subject of Miranda. Edwards, therefore, does not require suppression of Stevens’s post-warning

statements1.

                                                 III. Conclusion

        For the foregoing reasons, the court denies the motions to suppress filed by both defendants.

Trial will proceed as scheduled, beginning on April 3, 2006. Proposed Jury Instructions, voir dire and

witness lists are due one week prior to the trial date.

        IT IS SO ORDERED.




                                                   s/Ann Aldrich
                                                   ANN ALDRICH
                                                   UNITED STATES DISTRICT JUDGE

        Dated: March 20, 2006




        1
          As the government does not appear to have any recording, written or otherwise, of these statements, the
court anticipates that they will be introduced at trial in the same form as at the suppression hearing – i.e., within
testimony given by Ansari, and disputed by Stevens (who denies making any confession whatsoever).

                                                        -8-
